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7
8                     IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  ) CR No. S-96-350-WBS
12                    Plaintiff, )
                                  )
13                v.              ) STIPULATION AND ORDER TO CONTINUE
                                  ) JUDGMENT AND SENTENCING
14   HUY CHI LUONG,               )
                                  ) Date: April 02, 2007
15                    Defendant. ) Time: 8:30 A.M.
     _____________________________) Courtroom: Hon. William B. Shubb
16
17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong and Jason S. Hitt, Assistant
20   United States Attorneys; and defendant Huy Chi Luong, through his
21   counsel of record, John Balazs, Esq.; hereby stipulate and agree to
22   reschedule the sentencing in this matter set for March 12, 2007, at
23   8:30 a.m. to April 02, 2007, at 8:30 a.m.
24        In light of the recent Ninth Circuit decision in the Northern
25   District of California wherein defendant Huy Chi Luong<s 25 years
26   sentence has been set aside, the effect of that decision will
27   clearly impact the issues relevant to the sentencing in this matter.
28   Furthermore, an amended presentence report has been prepared.           The

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1    government needs additional time to file its objections and also to
2    file a sentencing memorandum.     Accordingly, the parties stipulate
3    that the sentencing in this matter be continued to April 02, 2007,
4    at 8:30 a.m.   Furthermore, should additional time be necessary for
5    the probation office to prepare a new presentence report, a further
6    continuance may be necessary.
7                                               Respectfully submitted,
8                                               McGREGOR W. SCOTT
                                                United States Attorney
9
10   DATED: March 8, 2007             By:        /s/ William S. Wong
                                                WILLIAM S. WONG and
11
12   DATED: March 8, 2007             By:        /s/ Jason Hitt
                                                JASON HITT
13                                              Assistant U.S. Attorneys
                                                Attorneys for Plaintiff
14
15   DATED: March 8, 2007             By: /s/ William S. Wong authorized by
                                              phone
16                                         JOHN BALAZS, ESQ., Attorney
                                           for Defendant Huy Chi Luong
17
     ________________________________________________________________
18
19                                      ORDER
20        For the reasons set forth above, the sentencing in this matter
21   is rescheduled for April 02, 2007, at 8:30 a.m.
22        IT IS SO ORDERED.
23
24   DATED:   March 8, 2007
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